5/11/23, 5:05 PM                   Case 8:23-bk-10898-TA                Doc 22-7     Filed
                                                                            8:10-bk-19081    05/11/23
                                                                                          - Jeffrey Scott Beier Entered    05/11/23
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                                                                     8:10-bk-19081 - Jeffrey Scott Beier

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                                                                              U.S. Bankruptcy Court
                                                                Central District of California (Santa Ana)
                                                                Bankruptcy Petition #: 8:10-bk-19081-TA
                                                                                                                                             Date filed: 07/01/2010
     Assigned to: Theodor Albert                                                                                                    Date terminated: 05/04/2011
     Chapter 7                                                                                                                     Debtor dismissed: 03/10/2011
     Voluntary                                                                                                                   341 meeting: 10/21/2010
     No asset                                                                                              Deadline for objecting to discharge: 10/12/2010



     Debtor disposition: Dismissed for Other Reason

     Debtor                                                                                                   represented by Andrew S Bisom
     Jeffrey Scott Beier                                                                                                           The Bisom Law Group
     PO Box 6576                                                                                                                   300 Spectrum Center Drive, Ste. 1575
     Laguna Niguel, CA 92607-6576                                                                                                  Irvine, CA 92618
     ORANGE-CA                                                                                                                     714-643-8900
                                                                                                                                   Fax : 714-643-8901



https://v2.courtdrive.com/cases/pacer/cacbke/8:10-bk-19081/dockets                                                                                      Exhibit 7            1/6
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                                                                                              - Jeffrey Scott Beier Entered    05/11/23
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     SSN / ITIN: xxx-xx-0875                                                                                                                     Email: abisom@bisomlaw.com


     Trustee                                                                                                             represented by John M Wolfe (TR)
     John M Wolfe (TR)                                                                                                                           5450 Trabuco Road
     5450 Trabuco Road                                                                                                                           Irvine, CA 92620-5704
     Irvine, CA 92620-5704                                                                                                                       (800) 436-4646
     (800) 436-4646                                                                                                                              Email: john.wolfe1@earthlink.net


     U.S. Trustee                                                                                                        represented by Nancy S Goldenberg
     United States Trustee (SA)                                                                                                         411 W Fourth St Ste 7160
     411 W Fourth St., Suite 7160                                                                                                                Santa Ana, CA 92701-8000
     Santa Ana, CA 92701-4593                                                                                                                    714-338-3416
     (714) 338-3400                                                                                                                              Fax : 714-338-3421
                                                                                                                                                 Email: nancy.goldenberg@usdoj.gov



     Date Filed           #      Docket Text



     07/01/2010            1     Chapter 7 Voluntary Petition . Fee Amount $299 Filed by Jeffrey Scott Beier Incomplete Filings due by 07/15/2010. (Bisom, Andrew) CORRECTION: Deficient for Statement of
                                 Social Security Number due 7/15/2010. Cert of Credit Counseling due 7/15/2010. Statement of related cases (not signed) due 7/15/2010. Db Cert of Employment Income (not
                                 signed) due 7/15/2010. Electronic Filing Declaration due 7/15/2010. Section 316 Incomplete Filings due 8/15/2010. Modified on 7/2/2010 (Shimizu, Tina). (Entered:
                                 07/01/2010)


     07/01/2010                  Receipt of Voluntary Petition (Chapter 7)(8:10-bk-19081) [misc,volp7] ( 299.00) Filing Fee. Receipt number 15073455. Fee amount 299.00. (U.S. Treasury) (Entered:
                                 07/01/2010)


     07/01/2010            2     Meeting of Creditors with 341(a) meeting to be held on 08/12/2010 at 03:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701. Objections to Discharge due by
                                 10/12/2010. Proof of Claim due by 11/10/2010. (Bisom, Andrew) (Entered: 07/01/2010)


     07/02/2010            3     Case Commencement Deficiency Notice (BNC) (RE: related document(s)1 Voluntary Petition (Chapter 7) filed by Debtor Jeffrey Scott Beier) (Shimizu, Tina) (Entered: 07/02/2010)




https://v2.courtdrive.com/cases/pacer/cacbke/8:10-bk-19081/dockets                                                                                                          Exhibit 7                            2/6
5/11/23, 5:05 PM                   Case 8:23-bk-10898-TA                     Doc 22-7     Filed
                                                                                 8:10-bk-19081    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
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     07/02/2010            4     Notice of Requirement to Complete Course in Financial Management (BNC) . (Shimizu, Tina) (Entered: 07/02/2010)


     07/02/2010            5     Statement of Social Security Number(s) Form B21 Filed by Debtor Jeffrey Scott Beier (RE: related document(s)1 Voluntary Petition (Chapter 7)). (Bisom, Andrew) (Entered:
                                 07/02/2010)


     07/02/2010            6     Declaration Re: Electronic Filing Filed by Debtor Jeffrey Scott Beier. (Bisom, Andrew) (Entered: 07/02/2010)


     07/02/2010            7     Certificate of Credit Counseling Filed by Debtor Jeffrey Scott Beier (RE: related document(s)1 Voluntary Petition (Chapter 7)). (Bisom, Andrew) (Entered: 07/02/2010)


     07/02/2010            8     Debtor's Certification of Employment Income Filed by Debtor Jeffrey Scott Beier (RE: related document(s)1 Voluntary Petition (Chapter 7)). (Bisom, Andrew) (Entered:
                                 07/02/2010)


     07/02/2010            9     Statement of related cases Filed by Debtor Jeffrey Scott Beier (RE: related document(s)1 Voluntary Petition (Chapter 7)). (Bisom, Andrew) (Entered: 07/02/2010)


     07/04/2010           10     BNC Certificate of Notice (RE: related document(s)2 Meeting (AutoAssign Chapter 7a)) No. of Notices: 9. Service Date 07/04/2010. (Admin.) (Entered: 07/04/2010)


     07/04/2010           11     BNC Certificate of Notice (RE: related document(s)3 Case Commencement Deficiency Notice (BNC)) No. of Notices: 3. Service Date 07/04/2010. (Admin.) (Entered: 07/04/2010)


     07/04/2010           12     BNC Certificate of Notice (RE: related document(s)4 Notice of Requirement to Complete Course in Financial Management (BNC)) No. of Notices: 4. Service Date 07/04/2010.
                                 (Admin.) (Entered: 07/04/2010)


     07/09/2010           13     Trustees Notice of Motion and Motion for Order Continuing the Automatic Stay under 11 U.S.C. 362(h)(2), for Adequate Protection and for Delivery of Personal Property in
                                 Individual Case Filed by Debtor Jeffrey Scott Beier (Bisom, Andrew) CORRECTION: Incorrect event code used. Attorney to re-file by using Motion code. Modified on 7/12/2010
                                 (Ngo, Kim). (Entered: 07/09/2010)


     07/12/2010           14     Request for courtesy Notice of Electronic Filing (NEF) Filed by Ramesh Singh on behalf of Courtesy NEF. (Singh, Ramesh) (Entered: 07/12/2010)



     07/12/2010           15     Notice of Motion and Motion in Individual Case for Order Imposing a Stay or Continuing the Automatic Stay as the Court Deems Appropriate 10 Tucson, Coto de Caza, CA.
                                 92679 . Fee Amount $150, Filed by Debtor Jeffrey Scott Beier (Bisom, Andrew) (Entered: 07/12/2010)


     07/12/2010                  Receipt of Motion for Relief - Imposing a Stay or Continuing the Automatic Stay(8:10-bk-19081-TA) [motion,nmis] ( 150.00) Filing Fee. Receipt number 15219047. Fee amount
                                 150.00. (U.S. Treasury) (Entered: 07/12/2010)




https://v2.courtdrive.com/cases/pacer/cacbke/8:10-bk-19081/dockets                                                                                                             Exhibit 7                      3/6
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                                                                                 8:10-bk-19081    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
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     07/12/2010                  Hearing Set (RE: related document(s)15 Motion for Relief - Imposing a Stay or Continuing the Automatic Stay filed by Debtor Jeffrey Scott Beier) The Hearing date is set for
                                 8/3/2010 at 11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor Albert (Daniels, Sally) (Entered: 07/20/2010)


     08/03/2010           16     Hearing Held (Bk Motion) (RE: related document(s) 15 Motion for Relief - Imposing a Stay or Continuing the Automatic Stay) STAY WILL BE ISSUED FOR A PERIOD OF 60
                                 DAYS. MOVANT TO SUBMIT FORM OF ORDER (Deramus, Glenda) (Entered: 08/03/2010)


     08/19/2010           17     341 Meeting of Creditors Continued (Trustee's 341 Filings) on 9/2/2010 at 03:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701 (Wolfe (TR), John) (Entered:
                                 08/19/2010)


     08/25/2010           18     Order Granting Motion for Order Imposing a Stay or Continuing the Automatic Stay 10 Tucson, Coto de Caza, CA. 92679(BNC-PDF) (Related Doc # 15). - Signed on 8/25/2010
                                 (I, deputy clerk who is making this entry, certify that service on all parties under Section II was completed, Wright, Jennifer) (Entered: 08/25/2010)


     08/27/2010           19     BNC Certificate of Notice - PDF Document. (RE: related document(s)18 Motion for Order Imposing a Stay or Continuing the Automatic Stay (BNC-PDF)) No. of Notices: 1. Service
                                 Date 08/27/2010. (Admin.) (Entered: 08/27/2010)


     09/02/2010           20     Motion to Dismiss Debtor Pursuant to 11 U.S.C. Section 707(a) Filed by U.S. Trustee United States Trustee (SA) (Goldenberg, Nancy) (Entered: 09/02/2010)



     09/02/2010           21     Motion to disgorge attorney's fees under 11 U.S.C. section 329 by U.S. Trustee and F.R.B.P. 2017 Filed by U.S. Trustee United States Trustee (SA) (Goldenberg, Nancy) (Entered:
                                 09/02/2010)


     09/02/2010                  Hearing Set (RE: related document(s)20 Dismiss Debtor filed by U.S. Trustee United States Trustee (SA)) The Hearing date is set for 10/5/2010 at 11:00 AM at Crtrm 5B, 411
                                 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor Albert (Ngo, Kim) (Entered: 09/03/2010)


     09/02/2010                  Hearing Set (RE: related document(s)21 Motion to disgorge attorney's fees under 11 U.S.C. section 329 by U.S. Trustee filed by U.S. Trustee United States Trustee (SA)) The
                                 Hearing date is set for 10/5/2010 at 11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor Albert (Ngo, Kim) (Entered: 09/03/2010)


     09/03/2010           22     Notice to creditors re: Notice of Hearing on Notice of Motion and Motion to Dismiss Case pursuant to 11 U.S.C. Section 707(a) (BNC-PDF) (Ngo, Kim) (Entered: 09/03/2010)


     09/03/2010           23     Notice to creditors - Notice of Hearing on Notice of Motion and Motion by U.S. Trustee to Determine Whether Compensation Paid to Counsel was Excessive under 11 U.S.C.
                                 Section 329 and F.R.B.P. 2017 -(BNC-PDF) (Ngo, Kim) (Entered: 09/03/2010)


     09/05/2010           24     BNC Certificate of Notice - PDF Document. (RE: related document(s)22 Notice to creditors (BNC-PDF)) No. of Notices: 9. Service Date 09/05/2010. (Admin.) (Entered:
                                 09/05/2010)




https://v2.courtdrive.com/cases/pacer/cacbke/8:10-bk-19081/dockets                                                                                                              Exhibit 7                          4/6
5/11/23, 5:05 PM                   Case 8:23-bk-10898-TA                     Doc 22-7     Filed
                                                                                 8:10-bk-19081    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
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     09/05/2010           25     BNC Certificate of Notice - PDF Document. (RE: related document(s)23 Notice to creditors (BNC-PDF)) No. of Notices: 9. Service Date 09/05/2010. (Admin.) (Entered:
                                 09/05/2010)


     09/08/2010           26     341 Meeting of Creditors Continued (Trustee's 341 Filings) on 9/16/2010 at 03:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701 (Wolfe (TR), John) (Entered:
                                 09/08/2010)


     09/21/2010           27     341 Meeting of Creditors Continued (Trustee's 341 Filings) on 10/7/2010 at 03:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701 (Wolfe (TR), John) (Entered:
                                 09/21/2010)


     09/29/2010           28     Objection (related document(s): 20 Motion to Dismiss Debtor Pursuant to 11 U.S.C. Section 707(a) filed by U.S. Trustee United States Trustee (SA)) Filed by Debtor Jeffrey Scott
                                 Beier (Bisom, Andrew) (Entered: 09/29/2010)


     09/29/2010           29     Opposition to (related document(s): 21 Motion to disgorge attorney's fees under 11 U.S.C. section 329 by U.S. Trustee and F.R.B.P. 2017 filed by U.S. Trustee United States
                                 Trustee (SA)) Filed by Attorney Andrew S. Bisom (Bisom, Andrew) (Entered: 09/29/2010)


     09/29/2010           30     Opposition to (related document(s): 20 Motion to Dismiss Debtor Pursuant to 11 U.S.C. Section 707(a) filed by U.S. Trustee United States Trustee (SA)) Filed by Debtor Jeffrey
                                 Scott Beier (Bisom, Andrew) (Entered: 09/29/2010)


     10/05/2010           31     Hearing Held (Bk Motion) (RE: related document(s) 20 Dismiss Debtor) - MOTION GRANTED; case dismissed - (cr: Bust) (Ngo, Kim) (Entered: 10/05/2010)


     10/05/2010           32     Hearing Held (Bk Motion) (RE: related document(s) 21 Motion to disgorge attorney's fees under 11 U.S.C. section 329 by U.S. Trustee) - Motion withdrawn - (cr: Bust) (Ngo, Kim)
                                 (Entered: 10/05/2010)


     10/12/2010           33     341 Meeting of Creditors Continued (Trustee's 341 Filings) on 10/21/2010 at 02:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701 (Wolfe (TR), John) (Entered:
                                 10/12/2010)


     10/19/2010                  Receipt of Certification Fee - $9.00 by 16. Receipt Number 80033697. (admin) (Entered: 10/20/2010)


     10/19/2010                  Receipt of Photocopies Fee - $2.50 by 16. Receipt Number 80033697. (admin) (Entered: 10/20/2010)


     03/10/2011           34     Order withdrawing Motion to disgorge attorney's fees under 11 U.S.C. section 329 by U.S. Trustee (Related Doc # 21) - Signed on 3/10/2011 (Ngo, Kim) Modified on 3/10/2011
                                 (Ngo, Kim). (Entered: 03/10/2011)




https://v2.courtdrive.com/cases/pacer/cacbke/8:10-bk-19081/dockets                                                                                                             Exhibit 7                            5/6
5/11/23, 5:05 PM                   Case 8:23-bk-10898-TA                     Doc 22-7     Filed
                                                                                 8:10-bk-19081    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
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     03/10/2011           35     Order Dismissing Case pursuant to 11 U.S.C. Section 707(a) - Debtor Dismissed. Signed on 3/10/2011. (I, deputy clerk who is making this entry, certify that service on all parties
                                 under Section II was completed Ngo, Kim) (Entered: 03/10/2011)


     03/10/2011           36     Notice of dismissal (BNC) (Ngo, Kim) (Entered: 03/10/2011)


     03/12/2011           37     BNC Certificate of Notice (RE: related document(s)36 Notice of dismissal (BNC)) No. of Notices: 7. Service Date 03/12/2011. (Admin.) (Entered: 03/12/2011)


     03/12/2011           38     BNC Certificate of Notice - PDF Document. (RE: related document(s)34 Order on Motion to disgorge attorney's fees under 11 U.S.C. section 329 by U.S. Trustee) No. of Notices:
                                 2. Service Date 03/12/2011. (Admin.) (Entered: 03/12/2011)


     03/28/2011                  Chapter 7 Trustee's Report of No Distribution: I, John M Wolfe (TR), having been appointed trustee of the estate of the above-named debtor(s), report that this case was
                                 dismissed or converted. I have neither received any property nor paid any monies on account of this estate. I hereby certify that the chapter 7 estate of the above-named
                                 debtor(s) has been fully administered through the date of conversion or dismissal. I request that I be discharged from any further duties as trustee. Key information about this
                                 case as reported in schedules filed by the debtor(s) or otherwise found in the case record: This case was pending for 1 months. Assets Abandoned (without deducting any
                                 secured claims): Not Applicable, Assets Exempt: Not Applicable, Claims Scheduled: Not Applicable, Claims Asserted: Not Applicable, Claims scheduled to be discharged
                                 without payment (without deducting the value of collateral or debts excepted from discharge): Not Applicable. Filed by Trustee John M Wolfe (TR). (Wolfe (TR), John) (Entered:
                                 03/28/2011)


     05/04/2011           39     Bankruptcy Case Closed - DISMISSED (Corona, Heidi) (Entered: 05/04/2011)




https://v2.courtdrive.com/cases/pacer/cacbke/8:10-bk-19081/dockets                                                                                                              Exhibit 7                             6/6
